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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )               Criminal No. 18-0121 (PLF)
JAMES A. BENJAMIN,                  )
                                    )
            Defendant.              )
____________________________________)


                          MEMORANDUM OPINION AND ORDER

               Pending before this Court is defendant James Benjamin’s Motion for

Compassionate Release under 18 U.S.C. § 3582(c)(1)(A). James Benjamin’s Motion for

Compassionate Release (“Def. Mot.”) [Dkt. No. 80]. 1

               On February 18, 2020, this Court sentenced Mr. Benjamin to sixteen months of

incarceration and twenty months of supervised release, following his guilty plea to: First Degree

Fraud under 22 D.C. Code §§ 3221(a) and 3222(a) and False Statements under 18 U.S.C. § 1001.

Judgment at 1-4; see also Def. Mot. at 4-5. Pursuant to the Judgment, Mr. Benjamin was to

surrender on June 5, 2020. Judgment at 3.

               On April 28, 2020, this Court granted Defendant James Benjamin’s Unopposed

Motion to Extend Deadline for Self-Surrender, postponing Mr. Benjamin’s self-surrender date to



       1
               The Court has reviewed the following documents in connection with the pending
motion: Plea Agreement as to James Benjamin (“Plea Agrmt.”) [Dkt. No. 33]; Statement of
Offense in Support of Guilty Plea (“SOO”) [Dkt. No. 35]; Judgment as to James Benjamin
(“Judgment”) [Dkt. No. 71]; Order of April 28, 2020 (“Order I”) [Dkt. No 76]; Order of
August 3, 2020 (“Order II”) [Dkt. No 79]; James Benjamin’s Motion for Compassionate Release
(“Def. Mot.”) [Dkt. No. 80]; Response to Motion for Compassionate Release (“Gov’t Opp.”)
[Dkt. No. 81]; and James Benjamin’s Reply in Support of His Motion for Compassionate
Release (“Def. Reply”) [Dkt. No. 82].
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September 3, 2020. Order I at 1. The Court found that there was good cause to grant this motion

due to the risks posed by the COVID-19 pandemic and the multiple health problems from which

Mr. Benjamin suffers. Id. On August 3, 2020, this Court again found good cause and granted

Defendant James Benjamin’s Unopposed Motion to Extend Deadline for Self-Surrender,

postponing Mr. Benjamin’s self-surrender date to November 2, 2020. Order II at 1. On

September 14, 2020, citing health conditions including diabetes and ongoing risks posed by the

COVID-19 pandemic, Mr. Benjamin filed the instant motion, seeking to serve the custodial

portion of his sentence via home confinement, or alternatively, to continue his surrender date to

March 3, 2021. Def. Mot. at 3.

               The government opposes the motion for compassionate release but submits that

the Court should delay Mr. Benjamin’s surrender date to March 3, 2021. Gov’t Opp. at 1. 2

Because Mr. Benjamin is not currently incarcerated and his surrender date can be postponed, the

government contends that Mr. Benjamin “does not currently confront, and does not imminently

face, any of the allegedly ‘extraordinary and compelling’ circumstances cited in his motion.” Id.

In reply, Mr. Benjamin argues that his “health issues will not improve between now and March”

and that the pandemic “has shown no sign of abating.” Def. Reply at 2.

               The COVID-19 pandemic continues to pose a threat nationwide, and Mr.

Benjamin suffers from multiple health problems, including uncontrolled diabetes, which place

him at serious risk for complications from COVID-19. See Def. Mot. at 2; see also Order I at 1;

Order II at 1. The Court therefore finds good cause to postpone Mr. Benjamin’s surrender date

until the agreed upon date of March 3, 2021. Postponing Mr. Benjamin’s surrender date will



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                Although the government refers to a delayed surrender date of “March 3, 2020,”
based on the surrounding evidence, the Court will infer that the government intended to stipulate
to the date of March 3, 2021.
                                                2
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resolve, for the time being, any imminent risk to his health posed by incarceration during the

COVID-19 pandemic. In addition, because Mr. Benjamin is not currently incarcerated and now

will not face incarceration until March 3, 2021, he does not meet the requisite extraordinary and

compelling standard warranting a sentence reduction. For the foregoing reasons, it is hereby

               ORDERED that James Benjamin’s Motion for Compassionate Release [Dkt.

No. 80] is GRANTED in part and DENIED in part, without prejudice. Mr. Benjamin’s request

for compassionate release and to serve his sentence via home confinement is denied and Mr.

Benjamin’s request to continue his surrender date is granted. Mr. Benjamin’s surrender date is

postponed from November 2, 2020 to March 3, 2021.

               SO ORDERED.




                                                        /s/
                                                      PAUL L. FRIEDMAN
                                                      United States District Judge
DATE: October 16, 2020




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